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                              EXHIBIT 4
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   From: Melissa Neimoyer <melissa@585strat.com>
   Date: November 21, 2020 at 6:38:22 PM EST
   To: Holly Buell <holly@585strat.com>
   Subject: Sunday's Schedule


   If you are available tomorrow please reach out to Holly or the staffing line.


   SUNDAY 11/22

   Total Vans: 8

   Warehouse:

   Crandon Park 8-4: 6747 Crandon Blvd. Key Biscayne, FL 33149 Shelter #4

   Driver: Dianna Figueroa
   Co-driver: Yuleidy Rivera Orta

   Soar Park 8-4: 100 NW 83rd St, Miami, FL

   Driver: Nathalie Petitcar
   Co-driver: Carline Soyant

   New Birth Baptist Church 8-4: 2300 NW 135 St. Miami, FL
                                                   th




   Driver: Ana Marto
   Co-driver: Kary Salazar
   Site Staff: Kimberly Harvey-Drake

   Zoo Miami 9-5:12400 SW 152 St. Miami, FL
                                    nd




   Driver: Gream Yves
   Co-driver: Guirlene Bastien
   Site Staff: Maxilene Fils-Aime

   Home Depot (Hialeah) 9-5: 1590 West 49 Pl. Miami, FL
                                              th




   Driver: Rocio Gamble
   Co-driver: Eiby Diaz
   Site Staff: Ismerie Petit

   Home Depot (Deerwood) 9-5: 11905 SW 152 St. Miami, FLnd




   Driver: Sandra O’Loughlin
   Co-driver: Gladys Fortin
   Site Staff: Elba Estrada
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   Dolphin Mall Lot 3/Area E 11-7: 11401 NW 12th Street, Miami, FL 33172

   Driver: Maria Fabrega
   Co-driver:
   Site Staff: Menande Merzuis, Irlande Saint-Jean, Yseline Etienne, Christina St. Victor (NEW)

   Dolphin Mall Lot 4/Area F 11-7: 11401 NW 12th Street, Miami, FL 33172

   Driver: Ramiro Fabrega
   Co-driver:
   Site Staff: Anela Jean-Louis, Rodlene Bryant, Marie Andre




   From: Melissa Neimoyer <melissa@585strat.com>
   Date: November 20, 2020 at 8:40:57 PM EST
   To: Holly Buell <holly@585strat.com>
   Subject: Saturday's Schedule


   If your name is not listed and you are available tomorrow or Sunday please send a
   message to Holly or the Med X Staffing number at 855-956-5292. We would really
   appreciate the help.
   Thank you


   SATURDAY 11/21

   Total Vans: 8

   Warehouse: Colbie Richardson

   Soar Park 8-4: 100 NW 83rd St, Miami, FL

   Driver: Dianna Figueroa
   Co-driver: Yuleidy Rivera Orta
   Site Staff: Michaelle Pierre

   Home Depot (Hialeah) 9-5: 1590 West 49 Pl. Miami, FL
                                              th




   Driver: Jonas Pierre
   Co-driver: Alaa Eltahir
   Site Staff: Errette Fenelon, Erna Edouar

   Home Depot (Deerwood) 9-5: 11905 SW 152 St. Miami, FL
                                                   nd




   Driver: Gream Yves
   Co-driver: Guirlene Bastien
   Site Staff: Kimberly Harvey-Drake, Elba Estrada
